Case 2:11-cr-20551-RHC-MKM ECF No. 1034, PageID.5144 Filed 04/10/15 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                                        Case No. 11-20551

 ADELFO PAMATMAT (D-18),

                Defendant.
                                                       /

        OPINION AND ORDER DENYING DEFENDANT’S MOTION TO DISMISS
               BASED ON OUTRAGEOUS GOVERNMENT CONDUCT

        On March 9, 2015, Defendant Adelfo Pamatmat filed a Motion to Dismiss Based

 on Outrageous Government Conduct, and to Suppress Any and All Evidence

 Uncovered from Such Conduct. (Dkt. # 989.) Pamatmat alleges that, as part of the

 investigation into Pamatmat and his co-defendants’ alleged illegal conduct, Drug

 Enforcement Administration (“DEA”) agents “willingly and intentionally commit[ted]

 criminal acts in an effort to induce and get others to participate in those same criminal

 acts.” (Id. at 4555.) He claims that “[t]he conduct of the DEA Agents in their undercover

 activities . . . to solicit persons to engage in the illegal participation and distribution of

 controlled substances, evidences conduct that is so outrageous and contrary to our

 sense of fairness and justice that it cannot be tolerated by the Court.” (Id. at 4554-55.)

 This matter is fully briefed, and no hearing is needed. See E.D. Mich. LR 7.1(f)(2). For

 the reasons stated on the record at the April 8, 2015 hearing on Pamatmat’s Motion to

 Suppress (Dkt. # 909) and for the reasons stated below, the motion will be denied.
Case 2:11-cr-20551-RHC-MKM ECF No. 1034, PageID.5145 Filed 04/10/15 Page 2 of 5




        Pamatmat insists that the DEA violated Pamatmat’s due process rights by

 engaging in the following “outrageous conduct,” which “created crime rather than

 uncovered crime, and as such engineered and directed the criminal enterprise from

 start to finish” (Id. at 4565-66):

        1) A DEA Agent acting as a Patient Recruiter;

        2) Multiple controlled substance prescriptions and purchases by undercover
        DEA Agents and confidential informants under the direction and control of
        DEA Agents;

        3) The DEA justifying searches of potentially hundreds of people based upon
        a practice that became unlawful once the DEA stated committing it;

        4) The DEA’s continuing its own criminal conspiracy with multiple controlled
        buys of “5” oxycontin prescriptions a-piece that the DEA instigated;

        5) The DEA actually setting up a “meeting,” and controlling the alleged
        conspiracy from start to finish; and

        6) DEA Agents knowingly completing fictitious patient charts, and setting
        additional crimes up, for the sole purpose of creating new crimes that the
        DEA intentionally set up, and directed, with its own “CS” and/or “cooperating”
        defendant.

 (Id. at 4566-67 (citations omitted).)

        In United States v. Tucker, 28 F.3d 1420 (6th Cir. 1994), the defendants moved

 to dismiss an indictment charging them with purchasing and aiding and abetting in the

 unlawful purchase of food stamps on the ground that “the government’s conduct in

 inducing defendants to commit their crimes was so ‘outrageous’ that it violated their due

 process rights.” Id. at 1421. On appeal, the Sixth Circuit discussed its authority to

 dismiss an indictment on based on allegedly outrageous conduct of the government.

 The Sixth Circuit explained, “Any analysis of the so-called ‘due process’ defense must . .

 . begin with the law of entrapment.” Id. at 1422. The court described entrapment as a

                                              2
Case 2:11-cr-20551-RHC-MKM ECF No. 1034, PageID.5146 Filed 04/10/15 Page 3 of 5




 “subjective” defense as opposed to the “outrageous conduct’ defense which is objective

 in nature. Here, Pamatmat explicitly states in his motion that “this is not an entrapment

 case.” (Dkt. # 989, Pg. ID 4565.)

        After rejecting the defendant’s entrapment defense, the Tucker court addressed

 the defendant’s “outrageous conduct” defense. The Sixth Circuit began its analysis by

 discussing the dicta from United States v. Russell, 411 U.S. 423 (1973) which originated

 this defense:

        While we may some day be presented with a situation in which the conduct
        of law enforcement agents is so outrageous that due process principles
        would absolutely bar the government from invoking judicial processes to
        obtain a conviction, cf. Rochin v. California, 342 U.S. 165 (1952), the instant
        case is distinctly not of that breed . . . . The law enforcement conduct here
        stops far short of violating that ‘fundamental fairness, shocking to the
        universal sense of justice,’ mandated by the Due Process Clause of the Fifth
        Amendment.

 Tucker, 28 F.3d at 1423 (quoting Russell, 411 U.S. at 431-31).

        The Sixth Circuit recognized that, “[s]ince this dicta was uttered, Russell has

 been cited more than two hundred times as authority for a defense based solely on an

 objective assessment of the government’s conduct.” Id. Meanwhile, Chief Justice

 Rehnquist, the author of Russell, recanted his Russell dicta in Hampton v. United

 States, 425 U.S. 484 (1976) (plurality), but failed to gain a majority in doing so. After

 reviewing Sixth Circuit and sister circuit precedent, the Tucker court expounded on its

 concerns about the objective outrageous conduct defense:

        Based on the lack of binding precedent from either the Supreme Court or the
        Sixth Circuit, we are of the view that this panel is not required to recognize
        the “due process” defense. Moreover, there are three strong reasons for
        concluding that such a defense simply does not exist: (1) government
        conduct which induces a defendant to commit a crime, even if labelled
        “outrageous,” does not violate that defendant's constitutional right of due

                                              3
Case 2:11-cr-20551-RHC-MKM ECF No. 1034, PageID.5147 Filed 04/10/15 Page 4 of 5




        process; (2) the district court lacked authority to dismiss the indictment for
        governmental misconduct where no violation of an independent constitutional
        right has been shown; and (3) continued recognition of this “defense” stands
        as an invitation to violate the constitutional separation of powers, intruding
        not only on the province of the Executive Branch but the Legislative Branch
        as well.

 Tucker, 28 F.3d at 1426-27.

        Ultimately, the Tucker court concluded:

        [W]e hold that a defendant whose defense sounds in inducement is, by
        congressional intent and Supreme Court precedent, limited to the defense of
        entrapment and its key element of predisposition. Defendants may not
        circumvent this restriction by couching their defense in terms of “due
        process” or “supervisory powers.” Thus, we reject as a matter of law the
        theory upon which defendants based their motion to dismiss without regard
        to the particular facts of their case and without reaching the issue of whether
        or not those facts can properly be characterized as “outrageous.”

 Id. at 1428.

        The Sixth Circuit recently reaffirmed that “[t]his court has soundly rejected

 the ‘outrageous government conduct’ defense, looking instead to the doctrine of

 entrapment to assess a defense that sounds in inducement.” United States v.

 Amawi, 695 F.3d 457, 483 (6th Cir. 2012); see also United States v. Blood, 435

 F.3d 612, 629 (6th Cir. 2006) (“We have held that the outrageous government

 conduct defense is not available where the defense is based either on a theory of

 government inducement, or on a theory that the undercover officer’s involvement

 in creating [the] crime was so significant that criminal prosecution violates due

 process.” (internal quotation marks and citations omitted)). Accordingly,

 Pamatmat’s motion is without merit, and it will be denied.




                                              4
Case 2:11-cr-20551-RHC-MKM ECF No. 1034, PageID.5148 Filed 04/10/15 Page 5 of 5




           IT IS ORDERED that Defendant Adelfo Pamatmat’s Motion to Dismiss

 Based on Outrageous Government Conduct (Dkt. # 989) is DENIED.

                                                                s/ Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE

 Dated: April 10, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, April 10, 2015, by electronic and/or ordinary mail.

                                                                 S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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